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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:02CR433
                              )
          v.                  )
                              )
TERRELL REED,                 )                      ORDER
                              )
               Defendant.     )
______________________________)


          IT IS ORDERED that plaintiff’s motion pursuant to Rule

35(b) (Filing No. 80) is scheduled for hearing on:

                Thursday, August 18, 2005, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 8th day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
